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An Evaluation Of Glyphosate Use And The Risks Of Non-
Hodgkin Lymphoma Major Histological Sub-Types In The
North American Pooled Project (Napp)
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Objectives: Glyphosate is a commonly used herbicide worldwide. Some epidemiological studies have linked exposure with
the development of non-Hodgkin lymphoma (NHL), a group of cancers with distinct risk factors and etiologies. This study
aimed to evaluate possible associations between glyphosate exposure and NHL risk. Methods: The NAPP, composed of
pooled case-control studies from the US and Canada, includes NHL cases (N=1690) and controls (N=5131) who provided
information on pesticide use. Cases (follicular lymphoma [FL], diuse large B-cell lymphoma [DLBCL], small lymphocytic
lymphoma [SLL], other) from cancer registries and hospitals were frequency-matched to population-based controls. Logistic
regression was used to estimate odds ratios (OR) and 95% condence intervals (CI) by ever/never, duration, frequency, and
lifetime days of glyphosate use. Models were adjusted for age, sex, location, proxy respondent, family history of
lymphatohematopoietic cancer, and personal protective equipment. Results: Cases who ever used glyphosate had elevated
NHL risk overall (OR=1.51, 95% CI: 1.18, 1.95). The highest risks were found for “other” sub-types (OR=1.91, 95% CI: 1.20,
3.04). Subjects who used glyphosate for >5 years had increased SLL risk (OR=2.58, 95% CI: 1.03, 6.48). Compared to non-
handlers, those who handled glyphosate for >2 days/year had signicantly elevated odds of NHL overall (OR=2.66, 95% CI:
1.61, 4.40) and FL (OR=2.36, 95% CI: 1.06, 5.29), DLBCL (OR=3.11, 95% CI: 1.61, 6.00), and other (OR=2.99, 95% CI: 1.10,
8.09) sub-types. There were suggestive increases in NHL risk overall with more lifetime days of use but this trend was not
statistically signicant (p=0.065). Conclusion: This study provides some evidence that glyphosate use may be associated
with increased NHL risk. Eects may dier by histological sub-type. The large sample size of the NAPP enabled a detailed
investigation despite some inconsistent results across dierent exposure metrics.
